       Case 10-23266-leb        Doc 175     Entered 03/07/13 14:54:59         Page 1 of 16




  1

  2

  3

  4 Entered on Docket
___________________________________________________________________
    March 07, 2013
  5

  6

  7

  8

  9                             UNITED STATES BANKRUPTCY COURT
 10
                                        DISTRICT OF NEVADA
 11

 12       In re:                                             Case No.: 10-23266-BAM
                                                             Hon. Bruce A. Markell
 13       LUIS VAZQUEZ,                                      Chapter 11
 14
                            DEBTOR.                          ORDER CONFIRMING PLAN OF
 15                                                          REORGANIZATION OF LUIS
                                                             VAZQUEZ
 16

 17                                                          Hearing Date: February 5, 2013
                                                             Hearing Time: 9:00 am
 18

 19

 20          LUIS VAZQUEZ (the “Debtor”), as Debtor and Debtor in possession, having proposed
 21   and filed the Chapter 11 Plan of Reorganization (the “Plan”); and the Court having conducted a

 22
      hearing on February 5, 2013 at 9:00am (the “Hearing”) to consider confirmation of the Plan, as
      modified by certain modifications filed with the Court as set forth in the Debtor Declaration in
 23
      Support of Confirmation of his Plan of Reorganization Under Chapter 11 of the Bankruptcy Code
 24
      (the “Declaration”), Stipulations with creditors GMAC and BAC Home Loan Servicing; and the
 25
      Court having considered (i) the arguments of counsel presented at the Hearing, (ii) the pleadings
 26
      filed in support of confirmation; and the Court being familiar with the Plan and other relevant
 27
      factors affecting this case pending under Chapter 11 of Title 11 of the United States Code, 11
 28   U.S.C. §§ 101, et seq. (as amended, the “Bankruptcy Code”); and the Court having taken judicial
      notice of the entire record of the Chapter 11 case, including, without limitation, all pleadings and

                                                       -1-
      Case 10-23266-leb        Doc 175     Entered 03/07/13 14:54:59         Page 2 of 16



     papers filed by the Debtor in the Chapter 11 case, (i) the order (the “Disclosure Statement Order”)
1
     entered by the Court on November 27, 2012 (a) approving the Debtor Disclosure Statement with
2
     Respect to the Plan (the “Disclosure Statement”), (b) approving the forms of ballots and
3
     solicitation and tabulation procedures, (c) prescribing the form and manner of notice thereof, (d)
4
     fixing the last date for filing objections to the Plan, and (e) scheduling the Hearing to (A) approve
5
     the Disclosure Statement, and (B) consider confirmation for the Chapter 11 Plan, and (f)
6    appointing The Firm, P.C. (“FIRM”) as solicitation and tabulation agent; and the Court having
7    found that due and proper notice has been given with respect to the Hearing and the deadlines and
8    procedures for objections to the Plan and the appearance of all interested parties having been duly
9    noted in the record of the Hearing; and upon the record of the Hearing, and after due deliberation

10
     thereon, and sufficient cause appearing therefore;

11
     IT IS HEREBY FOUND AND CONCLUDED, that
12

13
                                      JURISDICTION AND VENUE
14

15
        A. The Court has jurisdiction to conduct the Hearing and to confirm the Plan pursuant to 28
16          U.S.C. § 1334.
17      B. Confirmation of the Plan is a core proceeding pursuant to 28 U.S.C. § 157(b) and this
18          Court has jurisdiction to enter a final order with respect thereto.
19      C. The Debtor is a proper debtor under section 109 of the Bankruptcy Code and the Debtor, is

20
            a proper proponent of the Plan under section 1121(a) of the Bankruptcy Code.
        D. Each of the conditions precedent to the entry of this Order has been satisfied.
21

22
                                            JUDICIAL NOTICE
23

24
        E. This Court takes judicial notice of the docket of the Debtor Chapter 11 case maintained by
25
            the Clerk of the Court and/or its duly-appointed agent, and all pleadings and other
26          documents filed, all orders entered and evidence and argument made, proffered or adduced
27          at, the hearings held before the Court during the pendency of the Chapter 11 case.
28

     STANDARDS FOR CONFIRMATION UNDER SECTION 1129 OF THE BANKRUPTCY

                                                       -2-
     Case 10-23266-leb       Doc 175    Entered 03/07/13 14:54:59        Page 3 of 16



                                                CODE
1

2
      F. Section 1129(a)(1). The Plan complies with each applicable provision of the Bankruptcy
3
         Code. In particular, the Plan complies with the requirements of sections 1122, 1123, 1125,
4
         and 1126 of the Bankruptcy code.
5
      G. Section 1129(a)(4). No payment for services or costs in connection with the Chapter 11
6        case or the Plan has been made by the Debtor other than payments that have been
7        authorized by order of the Court.
8     H. Section 1129(a)(7). Each holder of an impaired Claim that has not accepted the Plan will,
9        on account of such Claim, receive or retain property under the Plan having a value, as of

10
         the Effective Date, that is not less than the amount that such holder would receive or retain
         if the Debtor was liquidated under chapter 7 of the Bankruptcy Code.
11
      I. Section 1129(a)(8). The Plan has been accepted by all impaired classes of Claims.
12
         Nevertheless, the Plan is confirmable because it satisfies 1129(b)(1) of the Bankruptcy
13
         Code with respect to such non-accepting classes of Claims.
14
      J. Section 1129(a)(9). The Plan provides treatment for Administrative and Priority Claims
15
         that is consistent with the requirements of section 1129(a)(9) of the Bankruptcy Code.
16    K. Section 1129(a)(10). The Plan has been accepted by all classes of impaired Claims that
17       voted on the Plan, including classes 2 and 5, which is determined without including any
18       acceptance of the Plan by any insider. Classes 1, 3, and 4 did not vote.
19    L. Section 1129(a)(11). Confirmation of the Plan is not likely to be followed by the

20
         liquidation or the need for the further financial reorganization of the Debtor.
      M. Section 1129(a)(12). The Plan provides for the payment of all fees payable under section
21
         1930, title 28, United States Code by the Debtor on the Effective Date (or as soon as
22
         practicable thereafter). After the Effective Date and until this Chapter 11 case is closed,
23
         converted, or dismissed, the Plan provides for the payment by the Disbursing Agent of all
24
         such fees as they become due and payable.
25
      N. Section 1129(a)(15). There were no objections to the Plan from creditors holding allowed
26       unsecured claims.
27    O. Section 1129(c). The Plan (including previous versions thereof) is the only plan that has
28       been filed in the Chapter 11 case that has been found to satisfy the requirements of
         subsections (a) and (b) of section 1129 of the Bankruptcy Code. Accordingly, the

                                                   -3-
     Case 10-23266-leb        Doc 175      Entered 03/07/13 14:54:59         Page 4 of 16



            requirements of section 1129(c) of the Bankruptcy Code have been satisfied.
1
       P. Section 1129(d). No party in interest, including but not limited to any governmental unit,
2
            has requested that the Court deny confirmation of the Plan on grounds that the principal
3
            purpose of the Plan is the avoidance of taxes or the avoidance of the application of section
4
            5 of the Securities Act of 1933, and the principal purpose of the Plan is not such avoidance.
5
            Accordingly, the Plan satisfies the requirements of section 1129(d) of the Bankruptcy
6           Code.
7

8                                      EXECUTORY CONTRACTS
9

10
       Q. Pursuant to sections 365 and 1123(b)(2) of the Bankruptcy Code, upon the occurrence of
            the Effective Date, the Plan provides for the rejection of each and every executory contract
11
            and unexpired lease that is listed in the Plan Schedules as being rejected. The Debtor’s
12
            decisions regarding the assumption and rejection of executory contracts and unexpired
13
            leases are based on and are within the sound business judgment of the Debtor, are
14
            necessary to the implementation of the Plan, the best interests of the Debtor, his estate,
15
            holders of Claims, and other parties in interest in this and are in consideration of the
16          classification, distributions, and other benefits provided under the Plan, the Chapter 11
17          case.
18     R. As required by Section 365(b) of the Bankruptcy Code, all cure obligations associated with
19          any executory contract or unexpired lease that is to be assumed under the Plan shall be

20
            paid.

21
                                 SETTLEMENTS AND INJUNCTIONS
22

23
       S. Pursuant to sections 1123(b) of the Bankruptcy Code and Bankruptcy Rule 9019(a), and in
24
            consideration of the classification, distributions, and other benefits provided under the
25
            Plan, the provisions of the Plan constitute a good faith compromise and settlement of all
26          the Claims and controversies resolved pursuant to the Plan.
27     //
28

     ACCORDINGLY, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

                                                      -4-
     Case 10-23266-leb    Doc 175      Entered 03/07/13 14:54:59          Page 5 of 16




1
      A. General
2
            1. The Plan is hereby CONFIRMED and the record of the Hearing is hereby closed.
3
            2. The Effective Date of the Plan shall occur on the date when the Court signs this
4
               Order confirming the Plan.
5
            3. In accordance with section 1141(a) of the Bankruptcy Code and upon the
6              occurrence of the Effective Date, the Plan shall be binding upon and inure to the
7              benefit of (i) the Debtor and his respective successors and assigns, (ii) the holders
8              of Claims and his respective successors and assigns (whether or not they voted to
9              accept the Plan, whether or not they are impaired under the Plan, and whether or

10
               not any such holder has filed, or is deemed to have filed a proof of Claim, (iii) any
               other Person giving, acquiring, or receiving property under the Plan, (iv) any party
11
               to an executory contract or unexpired lease of a Debtor and (v) each of the
12
               foregoing’s respective heirs, successors’, assigns, trustees, executors,
13
               administrators, affiliates, officers, directors, agents, representatives, attorneys,
14
               beneficiaries, or guardians, if any.
15
            4. On the Effective Date, except as otherwise provided in the Plan, title to all property
16             of the Estates shall vest in and be transferred in accordance with the terms of the
17             Plan. Notwithstanding any terms to the contrary, title to all properties may be
18             placed in a holding company or remain in the Debtor names in accordance with the
19             Plan.

20
      B. Treatment of Secured Claims
            5. The secured portions of the Lenders’ claims are reduced to the stipulated value(s)
21
               or by Order of Motion To Value of the Properties, pursuant to 11 U.S.C. § 506(a).
22
            6. That the unsecured portions of the Lenders’ claims are reduced and shall be treated
23
               as “general unsecured claims”, pursuant to 11 U.S.C. § 506(a).
24
            7. That beginning March 1, 2013, Debtor shall maintain regular monthly post-petition
25
               payments on Secured Creditor’s first Trust Deed obligation, encumbering the
26             subject Property, generally described as 105 N. Pearl St. Las Vegas, NV 89110 in
27             the amount of $308.41 per month, including 5.25% interest for 360 months, until
28             Secured Creditor’s entire claim, in the amount of $111,026.08, is paid in full.
               Payments are due on the first (1st) day of each month and are delinquent after the

                                                  -5-
     Case 10-23266-leb   Doc 175     Entered 03/07/13 14:54:59         Page 6 of 16



               fifteenth (15th) day of each month. Said payments shall be made directly to BAC
1
               HOME LOANS SERVICING, LP Mail Code TX2-982-03-03, 7105 Corporate Dr
2
               Plano, TX 75024, referencing loan number ending *****1385.
3
                          i. That in addition to the monthly payment above, the Debtor shall
4
                             maintain an escrow account with BAC in connection with the Loan
5
                             for the insurance and property taxes on the Property. The current
6                            monthly escrow payment may change as escrow needs are
7                            reanalyzed over the remaining life of the loan.
8                        ii. That within 24 months of the entry of the Order Confirming Plan,
9                            Debtor shall pay the post-petition escrow shortage. Debtor should

10
                             send payment of the correct amount directly to Secured Creditor.
                         iii. That an additional 7% pre-payment penalty, based upon balance
11
                             due, will be payable if the subject loan is paid off or if the subject
12
                             property is sold prior to five (5) years from the date of Confirmation.
13
                         iv. That in the event Debtor fail to timely and properly comply with the
14
                             payments ordered above, Secured Creditor shall send to Debtor
15
                             written notice of default with copy to Debtor’ counsel, stating that
16                           the Debtor shall have ten (10) days to cure. Also, an additional
17                           attorney’s fee of $100.00 will be incurred for each notice of default.
18                           In the event Debtor fail to timely and properly cure the delinquency
19                           pursuant to the 10-day written notice of default as set forth

20
                             hereinabove, Secured Creditor shall submit an Ex Parte Order
                             Terminating the Automatic Stay. Upon entry of the Ex Parte Order,
21
                             the Automatic Stay shall be immediately terminated and
22
                             extinguished for all purposes as to Secured Creditor, BAC HOME
23
                             LOANS SERVICING, LP FKA COUNTRYWIDE HOME LOANS
24
                             SERVICING, LP, its assignees and/or successors in interest, and
25
                             Secured Creditor, its assignees and/or successors in interest, may
26                           proceed with a foreclosure of and hold a Trustee’s Sale of the
27                           subject Property, pursuant to applicable state law, and commence
28                           any action necessary to obtain complete possession of the subject
                             Property.

                                                -6-
     Case 10-23266-leb   Doc 175      Entered 03/07/13 14:54:59        Page 7 of 16



                          v. That to the extent of any inconsistency between the terms of this
1
                              Order and the terms set forth in any Chapter 11 Plan, the terms of
2
                              this Order control.
3
                         vi. That the terms, provisions and duties imposed upon each party
4
                              pursuant to this Order shall become void and extinguished in the
5
                              event this bankruptcy proceeding is dismissed, converted to another
6                             chapter or otherwise terminated by any other means or in the event
7                             the automatic stay is later terminated in favor of this secured
8                             creditor.
9           8. That beginning March 1, 2013, Debtor shall maintain regular monthly post-petition

10
               payments on Secured Creditor’s first Trust Deed obligation, encumbering the
               subject Property, generally described as 4751 E. Craig Rd Las Vegas, NV 89115 in
11
               the amount of $919.94 per month, including 9.00% interest for 360 months, until
12
               Secured Creditor’s entire claim, in the amount of $331,177.55, is paid in full
13
               pursuant to Secured Creditor’s election under 1111(b) of the Bankruptcy Code.
14
               Payments are due on the first (1st) day of each month and are delinquent after the
15
               fifteenth (15th) day of each month. Said payments shall be made directly to BAC
16             HOME LOANS SERVICING, LP, PO Box 660933 Dallas TX 75266-0933,
17             referencing loan number ending in ****6243.
18                         i. That in addition to the monthly payment above, the Debtor shall
19                            maintain an escrow account with BAC in connection with the Loan

20
                              for the insurance and property taxes on the Property. The current
                              monthly escrow payment is $350.18 which may change as escrow
21
                              needs are reanalyzed over the remaining life of the loan.
22
                          ii. That within 6 months of the entry of the Order Confirming Plan,
23
                              Debtor shall pay the post-petition escrow shortage. Debtor should
24
                              send payment of the correct amount in certified funds to Miles,
25
                              Bauer, Bergstrom & Winters, LLP, 2200 Paseo Verde Pkwy., Suite
26                            250, Henderson, NV 89052, Attention: Bankruptcy Department
27                            made payable to BAC HOME LOANS SERVICING, LP.
28                       iii. That in the event Debtor fail to timely and properly comply with the
                              payments ordered above, Secured Creditor shall send to Debtor

                                                 -7-
     Case 10-23266-leb   Doc 175      Entered 03/07/13 14:54:59        Page 8 of 16



                              written notice of default with copy to Debtor’ counsel, stating that
1
                              the Debtor shall have ten (10) days to cure. Also, an additional
2
                              attorney’s fee of $100.00 will be incurred for each notice of default.
3
                              In the event Debtor fail to timely and properly cure the delinquency
4
                              pursuant to the 10-day written notice of default as set forth
5
                              hereinabove, Secured Creditor shall submit an Ex Parte Order
6                             Terminating the Automatic Stay. Upon entry of the Ex Parte Order,
7                             the Automatic Stay shall be immediately terminated and
8                             extinguished for all purposes as to Secured Creditor, BAC HOME
9                             LOANS SERVICING, LP FKA COUNTRYWIDE HOME LOANS

10
                              SERVICING, LP, its assignees and/or successors in interest, and
                              Secured Creditor, its assignees and/or successors in interest, may
11
                              proceed with a foreclosure of and hold a Trustee’s Sale of the
12
                              subject Property, pursuant to applicable state law, and commence
13
                              any action necessary to obtain complete possession of the subject
14
                              Property.
15
                         iv. That to the extent of any inconsistency between the terms of this
16                            Order and the terms set forth in any Chapter 11 Plan, the terms of
17                            this Order control.
18                        v. That the terms, provisions and duties imposed upon each party
19                            pursuant to this Order shall become void and extinguished in the

20
                              event this bankruptcy proceeding is dismissed, converted to another
                              chapter or otherwise terminated by any other means or in the event
21
                              the automatic stay is later terminated in favor of this secured
22
                              creditor.
23
            9. That beginning March 1, 2013, Debtor shall maintain regular monthly post-petition
24
               payments on Secured Creditor’s first Trust Deed obligation, for the property
25
               generally described as 1100 E 9th St, Pomona, CA 91766 in the amount of $1298.92
26             per month, including 5.25% interest for 360 months, until Secured Creditor’s
27             entire claim, in the amount of $467,611.20, is paid in full. Payments are due on the
28             first (1st) day of each month and are delinquent after the fifteenth (15th) day of
               each month. Said payments shall be made directly to BAC HOME LOANS

                                                 -8-
     Case 10-23266-leb   Doc 175     Entered 03/07/13 14:54:59         Page 9 of 16



               SERVICING, LP, Mail Code: TX2- 982-03-03, 7105 Corporate Drive, Plano, TX
1
               75024, referencing loan number ending in ****2770.
2
                          i. That in addition to the monthly payment above, the Debtor shall
3
                             maintain an escrow account with BAC in connection with the Loan
4
                             for the insurance and property taxes on the Property. The current
5
                             monthly escrow payment is $277.60, which may change as escrow
6                            needs are reanalyzed over the remaining life of the loan.
7                        ii. That within 6 months of the entry of the Order Confirming Plan,
8                            Debtor shall pay the post-petition escrow shortage. Debtor should
9                            send payment of the correct amount in certified funds to Miles,

10
                             Bauer, Bergstrom & Winters, LLP, 2200 Paseo Verde Pkwy., Suite
                             250, Henderson, NV 89052, Attention: Bankruptcy Department
11
                             made payable to BAC HOME LOANS SERVICING, LP.
12
                         iii. That an additional 7% pre-payment penalty, based upon balance
13
                             due, will be payable if the subject loan is paid off or if the subject
14
                             property is sold prior to five (5) years from the date of Confirmation.
15
                         iv. That to the extent of any inconsistency between the terms of this
16                           Order and the terms set forth in any Chapter 11 Plan, the terms of
17                           this Order control.
18                       v. That in the event Debtor fail to timely and properly comply with the
19                           payments ordered above, Secured Creditor shall send to Debtor

20
                             written notice of default with copy to Debtor’ counsel, stating that
                             the Debtor shall have ten (10) days to cure. Also, an additional
21
                             attorney’s fee of $100.00 will be incurred for each notice of default.
22
                             In the event Debtor fail to timely and properly cure the delinquency
23
                             pursuant to the 10-day written notice of default as set forth
24
                             hereinabove, Secured Creditor shall submit an Ex Parte Order
25
                             Terminating the Automatic Stay. Upon entry of the Ex Parte Order,
26                           the Automatic Stay shall be immediately terminated and
27                           extinguished for all purposes as to Secured Creditor, BAC HOME
28                           LOANS SERVICING, LP FKA COUNTRYWIDE HOME LOANS
                             SERVICING, LP, its assignees and/or successors in interest, and

                                                -9-
     Case 10-23266-leb    Doc 175     Entered 03/07/13 14:54:59         Page 10 of 16



                               Secured Creditor, its assignees and/or successors in interest, may
1
                               proceed with a foreclosure of and hold a Trustee’s Sale of the
2
                               subject Property, pursuant to applicable state law, and commence
3
                               any action necessary to obtain complete possession of the subject
4
                               Property.
5
                          vi. That the terms, provisions and duties imposed upon each party
6                              pursuant to this stipulation and order shall become void and
7                              extinguished in the event this bankruptcy proceeding is dismissed,
8                              converted to another chapter or otherwise terminated by any other
9                              means or in the event the automatic stay is later terminated in favor

10
                               of this secured creditor.
             10. That beginning March 1, 2013, Debtor shall maintain regular monthly post-petition
11
                payments on Secured Creditor’s first Trust Deed obligation, encumbering the
12
                property generally described as 6001 Granada Ave Las Vegas, NV 89107 in the
13
                amount of $466.99 per month until Secured Creditor’s entire claim, in the amount
14
                of $71,300.00, is paid in full. This payment is calculated as the present value of the
15
                subject Property ($71,300.00) to be paid at 6.0% interest over twenty-four (24)
16              years. Payments are due on the first (1st) day of each month and are delinquent
17              after the fifteenth (15th) day of each month..
18                          i. That in addition to the monthly payment above, the Debtor shall
19                             maintain an escrow account with GMAC in connection with the

20
                               Loan for the insurance and property taxes on the Property. The
                               current monthly escrow payment may change as escrow needs are
21
                               reanalyzed over the remaining life of the loan.
22
                           ii. That within 24 months of the entry of the Order Confirming Plan,
23
                               Debtor shall pay the post-petition escrow shortage. Debtor should
24
                               send payment of the correct amount directly to Secured Creditor.
25
                          iii. That in the event Debtor fail to timely and properly comply with the
26                             payments ordered above, Secured Creditor shall send to Debtor
27                             written notice of default with copy to Debtor’ counsel, stating that
28                             the Debtor shall have ten (10) days to cure. Also, an additional
                               attorney’s fee of $100.00 will be incurred for each notice of default.

                                                 -10-
     Case 10-23266-leb      Doc 175    Entered 03/07/13 14:54:59        Page 11 of 16



                                In the event Debtor fail to timely and properly cure the delinquency
1
                                pursuant to the 10-day written notice of default as set forth
2
                                hereinabove, Secured Creditor shall submit an Ex Parte Order
3
                                Terminating the Automatic Stay. Upon entry of the Ex Parte Order,
4
                                the Automatic Stay shall be immediately terminated and
5
                                extinguished for all purposes as to Secured Creditor, Chase, its
6                               assignees and/or successors in interest, and Secured Creditor, its
7                               assignees and/or successors in interest, may proceed with a
8                               foreclosure of and hold a Trustee’s Sale of the subject Property,
9                               pursuant to applicable state law, and commence any action

10
                                necessary to obtain complete possession of the subject Property.
                            iv. That to the extent of any inconsistency between the terms of this
11
                                Order and the terms set forth in any Chapter 11 Plan, the terms of
12
                                this Order control.
13
                             v. That the terms, provisions and duties imposed upon each party
14
                                pursuant to this stipulation and order shall become void and
15
                                extinguished in the event this bankruptcy proceeding is dismissed,
16                              converted to another chapter or otherwise terminated by any other
17                              means or in the event the automatic stay is later terminated in favor
18                              of this secured creditor.
19           11. That unsecured portions of the Lenders’ claims be reclassified as general unsecured

20
                claims to be paid pro rata with other general unsecured creditors through the
                Debtor’s Chapter 11 plan.
21
             12. That Lenders’ secured rights and/or lien-holder rights in the Properties are hereby
22
                modified as set forth above, and the terms of the Notes thereon are hereby
23
                modified.
24
       C. Plan Implementation
25
             13. The Debtor is authorized to undertake or cause to be undertaken any and all acts
26              and actions contemplated by the Plan or required to consummate and implement
27              the provisions of the Plan, prior to, on, and after the Effective Date, including
28              without limitation, entering, executing, delivering, filing or recording any
                agreements, instruments, or documents necessary to implement the Plan. All such

                                                  -11-
     Case 10-23266-leb     Doc 175      Entered 03/07/13 14:54:59         Page 12 of 16



                 actions shall be deemed to have occurred and shall be in effect without any
1
                 requirement or further action by the Debtor.
2
             14. Each federal, state, commonwealth, local, foreign or other governmental agency is
3
                 hereby directed and authorized to accept any and all documents, mortgages, and
4
                 instruments necessary or appropriate to effectuate, implement, or consummate the
5
                 transactions contemplated by the Plan and this Order.
6      D. Plan Distributions
7            15. On and after the Effective Date, distributions on account of allowed Claims shall be
8                effectuated pursuant to the Plan. Allowed Claims are those claims that have filed a
9                proof of claim as of the confirmation date. Plan distributions shall commence on

10
                 March 1, 2013 and end March 1, 2018. The Plan payment (“Distribution Payment”)
                 shall be $325.00. Debtor shall make the appropriate pro rata distributions on
11
                 account of allowed claims pursuant to Appendix A of this Order.
12
             16. In accordance with the Plan, all applications for payment of fees and
13
                 reimbursement of expenses by professionals retained in these Chapter 11 Cases as
14
                 well as parties seeking compensation pursuant to section 503 of the Bankruptcy
15
                 Code must be filed with the Court by the date that is no later than forty-five (45)
16               days after the Confirmation Date of the Plan (or, if such date is not a Business Day,
17               by the next Business Day thereafter). Any Person or entity that fails to file such an
18               application or request on or before such date shall be forever barred from asserting
19               such Administrative Claim against the Debtor or his property, and the holder

20
                 thereof shall be enjoined from commencing or continuing any action, employment
                 of process or act to collect, offset or recover such Administrative Claim.
21
                 Applications for approval of professionals’ fees not previously awarded during the
22
                 pendency of the Chapter 11 case may be included in such professional’s final
23
                 applications as set forth herein and in the Plan. Objections, if any, to Fee Claims
24
                 shall be filed and served not later than five (5) business days prior to the date set by
25
                 the Court for the hearing to consider such requests.
26     E. Executory Contracts and Leases
27           17. As of the Confirmation Date all executory contracts and unexpired leases of the
28               Debtor shall be assumed, pursuant to sections 365 and 1123 of the Bankruptcy
                 Code.

                                                   -12-
     Case 10-23266-leb     Doc 175     Entered 03/07/13 14:54:59         Page 13 of 16



             18. Upon the Confirmation Date of the Plan, the Debtor shall provide notice of the
1
                rejection pursuant to the Plan of an executory contract or unexpired lease to any
2
                non-debtor parties. In the event the Plan otherwise is not consummated, the Debtor
3
                may modify or amend (including, without limitation, making additions and/or
4
                deletions) all rights of a Debtor to assume or reject its unexpired leases and
5
                executory contracts shall be reinstated to the date immediately prior to the date of
6               this Order.
7      F. Taxes and Transfers
8            19. The transfer of any security under the Plan or this Order has been duly authorized,
9               and when issued as provided in the Plan, will be validly issued, fully paid, and non-

10
                assessable.
             20. Creditors seeking to protect the validity, enforceability, perfection and priority of
11
                the liens and security interests granted and/or continued under the Plan may file
12
                financing statements, deeds of trust, mortgages or other documents and take any
13
                and all actions as they deem appropriate, in his respective discretion, to confirm the
14
                perfection of such security interests and liens.
15
             21. All filing and recording officers are hereby directed to accept for filing or recording
16              all instruments of transfer to be filed and recorded notwithstanding any contrary
17              provision of applicable non-bankruptcy law. This Court retains jurisdiction to
18              enforce the foregoing direction, by contempt proceedings or otherwise.
19     G. Miscellaneous

20
             22. From and after the Confirmation Date, this Court shall retain and have exclusive
                jurisdiction of all matters arising out of this Chapter 11 case pursuant to, and for
21
                purposes of, subsection 105(a) and section 1142 of the Bankruptcy Code, including
22
                without limitation, jurisdiction over the matters set forth in the Plan, which is
23
                incorporated herein by reference, as if set forth in extenso.
24
             23. Except as otherwise provided in the Plan and this Order, notice of all subsequent
25
                Priority Tax Claim for U. S. federal income taxes, if any, and the rights of the
26              holder of such Claim, if any, to payment in respect thereof shall: (a) survive the
27              Effective Date and consummation of the Plan and be determined in the manner and
28              by the administrative or judicial tribunal in which the amount of such Claim and
                the rights of the holder of such Claim would have been resolved or adjudicated if

                                                   -13-
     Case 10-23266-leb     Doc 175     Entered 03/07/13 14:54:59         Page 14 of 16



                the Chapter 11 case had not been commenced; and (b) not be discharged, impaired
1
                or adversely affected by the Plan. In accordance with section 1124 of the
2
                Bankruptcy Code, the Plan shall leave unaltered the legal, equitable and contractual
3
                rights of a holder of such Claim.
4
             24. Notwithstanding anything in the Plan or this Order to the contrary, the amount of
5
                any pleadings in this Chapter 11 case shall be limited to counsel for the Debtor, the
6               United States Trustee, and any party known to be directly affected by the relief
7               sought.
8            25. Failure specifically to include or reference particular sections or provisions of the
9               Plan or any related agreement in this Order shall not diminish or impair the

10
                effectiveness of such sections or provisions, it being the intent of the Court that the
                Plan is confirmed and such related agreements be approved in his entirety.
11
             26. All entities holding Claims against in the Debtor that are treated under the Plan are
12
                hereby directed to execute, deliver, file, or record any document, and to take any
13
                action necessary to implement, consummate, and otherwise effect the Plan in
14
                accordance with its terms, and all such in connection with the Plan.
15
             27. In accordance with section 1142 of the Bankruptcy Code, the Debtor, and any other
16              entity designated pursuant to the Plan are hereby authorized, empowered and
17              directed to issue, execute, deliver, file and record any document, and to take any
18              action necessary or appropriate to implement, consummate and otherwise effectuate
19              the Plan in accordance with its terms, and all such entities shall be bound by the

20
                terms and provisions of all documents issued, executed and delivered by them as
                necessary or appropriate to implement or effectuate the transactions contemplated
21
                by the Plan and as set forth in the Plan.
22
             28. Any document related to the Plan that refers to a plan of reorganization of the
23
                Debtor other than the Plan confirmed by this Order shall be, and it hereby is,
24
                deemed to be modified such that the reference to a plan of reorganization of the
25
                Debtor in such document shall mean the Plan confirmed by this Order, as
26              appropriate.
27           29. In the event of an inconsistency between the Plan, on the one hand, and any other
28              agreement, instrument, or document intended to implement the provisions of the
                Plan, on the other, the provisions of the Plan shall govern (unless otherwise

                                                    -14-
     Case 10-23266-leb     Doc 175     Entered 03/07/13 14:54:59         Page 15 of 16



                expressly provided for in such agreement, instrument, or document). In the event of
1
                any inconsistency between the Plan and/or any agreement, instrument, or document
2
                intended to implement the Plan, on the one hand, and this Order, on the other, the
3
                provisions of this Order shall govern.
4
             30. The provisions of this Order are integrated with each other and are non-severable
5
                and mutually dependent.
6            31. This Confirmation Order is a final order and the period in which an appeal must be
7               filed shall commence immediately upon the entry hereof.
8            32. If any or all of the provisions of this Order are hereafter reversed, modified or
9               vacated by subsequent order of this Court, or any other Court, such reversal,

10
                modification or vacatur shall not affect the validity of the acts or obligations
                incurred or undertaken under or in connection with the Plan prior to the Debtor
11
                receipt of written notice of such order. Notwithstanding any such reversal,
12
                modification or vacatur of this Order, any such act or obligation incurred or
13
                undertaken pursuant to, and in reliance on, this Order prior to the effective date of
14
                such reversal, modification or vacatur shall be governed in all respects by the
15
                provisions of this Order and the Plan and all related documents or any amendments
16              or modifications thereto.
17           33. The Plan shall be substantially consummated on the Confirmation Date because the
18              transactions described in the Plan shall have occurred or shall have been provided
19              for.

20
             34. In the event that the Debtor completes and pays all of the Plan payments as agreed,
                the Debtor may apply to this Court for an Order of Discharge.
21
             35. The Debtor may at any time after the Confirmation Order pay off any remaining
22
                Plan payments in full and apply for a Discharge.
23
             36. The Debtor shall commence making plan payments to the Distribution Agent and
24
                the Distribution Agent shall be reasonable compensated as outlined in the
25
                Disclosure Statement and the Debtor Plan of Reorganization. Monthly Plan
26              payments shall commence on March 1, 2013 and continue for a period of 60
27              months. The Debtor last plan payment shall be March 1, 2018.
28           37. The Distribution Agent shall make pro rate distributions to only those creditors that
                filed Proofs of Claims and in the attached Appendix A of this Order. The

                                                   -15-
     Case 10-23266-leb         Doc 175       Entered 03/07/13 14:54:59             Page 16 of 16



                    Distribution shall be entitled to $100.00 per month for making allowed plan
1
                    distributions.
2
                 38. The Distribution Agent shall not pay those allowed Claims as set forth in Appendix
3
                    A, which the total pro rata distribution is less than $100.00 over 60 months for
4
                    Administrative Convenience.
5

6    IT IS SO ORDERED.

7
     DATED this 12th day February, 2013.
8

9                                                     THE FIRM, P.C.
                                                      /s/ Ryan Alexander
10                                                    Nevada Bar No. 10845
                                                      Attorney for Debtor
11

12

13
           Alternative Method re Rule 9021
14

15
       In accordance with LR 9021, counsel submitting this document certifies as follows (check one)

16         ___      The court has waived the requirement of approval under LR 9021.
           ___      No Parties appeared or filed written objections
17         X        I have delivered a copy of this proposed order to all counsel who appeared at the hearing, any
                    unrepresented parties who appeared at the hearing, and any trustee appointed in this case, and
18                  each has approved or disapproved the order, or failed to respond, as indicated below.
19
                    GINA CORENA               APPROVED
20
           ___      I certify that this is a case under Chapter 7, 13, 9, 11, or 15, that I have served a copy of this
21                  order with the motion pursuant to LR 9014(g), and that no party has objected to the form or
                    content of the order.
22

23

24

25

26

27

28




                                                          -16-
